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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA
ROGELIO A. STANFORD                             *

                    Plaintiff,                  *

                    v.                          *
                                                    Civil Action No.: 1:23-cv-03041
HOWARD UNIVERSITY                               *

                    Defendant                   *

*       *       *        *       *     *        *        *       *      *      *      *       *

                                     JOINT STATUS REPORT

        Pursuant to the Court’s February 3, 2025 Minute Order, undersigned counsel respectfully

submit this Joint Status Report on behalf of Plaintiff Rogelio Stanford and Defendant Howard

University:

        1.      Plaintiff filed its Complaint on October 12, 2023 (ECF 1), alleging unlawful

employment discrimination, and retaliation on the basis of ethnicity and national origin, age, and

interference with statutorily protected rights in violation of Title VII of the Civil Rights Act of

1964 as amended (“Title VII”), 42 U.S.C. §§ 2000e – 2000e-17, and the Age Discrimination in

Employment Act of 1967, as amended (“ADEA”), 29 U.S.C. §§ 621-634.


        2.      On December 22, 2023, Defendant filed a Partial Motion to Dismiss Counts II and

IV (ECF 9). On April 17, 2024, the Court held a hearing on Defendant’s Motion and granted the

Motion without prejudice to the Plaintiff filing an amended complaint on or before May 1, 2024.

Plaintiff declined to amend his Complaint. On May 7, 2024, the Court adopted the Parties’

proposed discovery schedule from the Parties’ Joint Report and Meet and Confer Statement (ECF

17). It further ordered that discovery would close on or before October 9, 2024.




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        3.      On September 13, 2024, the Parties filed a Joint Motion to Modify the Scheduling

Order (ECF 22). In its September 13, 2024 Minute Order, the Court granted the Parties’ Motion,

and ordered that discovery would close on or before November 11, 2024. The Parties now submit

that discovery has closed and there are no pending discovery issues.


        4.      On January 10, 2025, this case was reassigned to Judge Sparkle L. Sooknanan.


        5.      The Parties have conferred and Plaintiff is but Defendant is not, interested in

mediation at this time. Defendant has solicited a settlement demand from the Plaintiff.


        6.      In light of the Joint Status Report (ECF 26) filed by the Parties on January 16, 2025,

Judge Sooknanan vacated the Post-Discovery Status Conference set for January 17, 2025, and

directed the Parties to file a Joint Status Report by March 18, 2025 to include a proposed briefing

schedule for summary judgment proceedings. The Parties’ have conferred further and jointly

propose the below briefing schedule for summary judgment proceedings:


        •       May 1, 2025: deadline for Parties to move for summary judgment;

        •       May 22, 2025: deadline for Parties to file any opposition to summary judgment;

                and

        •       June 12, 2025: deadline for reply briefing.




                                 SIGNATURES ON FOLLOWING PAGE


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        Dated: March 18, 2025              Respectfully submitted,

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